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  EXHIBIT I
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From:                               Ditlow, Lindsay F.
Sent:                               Tuesday, June 20, 2017 7:47 PM
To:                                 'Barry Guaglardi'
Cc:                                 'Evan Ostrer'; Cousin, Brian S.; Meredith, Mark D.
Subject:                            RE: Dardashtian v. Gitman
Attachments:                        Status 2017062002.docx; 20170620_001.pdf


Barry,
 Thank you for this additional information. It was helpful and Mr. Gitman continues his efforts to comply with all
orders. Attached please find information resolving the account issues which Mr. Dardashtian raised as well as
screenshots where necessary to show access is granted. Please review with your client and confirm all account issues
have been resolved.

Additionally, attached please find a deposit receipt for the BAP check.

In regards to the CSV Bank account, Mr. Gitman is prepared to provide a full accounting once the CR Inc. bank account is
closed. As mentioned earlier, because of pending transactions, the bank will not currently close the account.

Mr. Gitman has not filed a trademark application for ChannelReply or any similar name.

Please advise if the above resolves the issues you set forth below.

Best regards,
Lindsay



                  Lindsay F. Ditlow

                  D +1 212 398 5782 | US Internal 15782
                  lindsay.ditlow@dentons.com
                  Bio | Website

                  Dentons US LLP

                  大成 Salans FMC SNR Denton McKenna Long

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From: Barry Guaglardi [mailto:bguaglardi@adgmlaw.com]
Sent: Tuesday, June 20, 2017 6:01 PM
To: Ditlow, Lindsay F.
Cc: Evan Ostrer; Cousin, Brian S.
Subject: FW: Dardashtian v. Gitman

Lindsay
                                                                 1
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Attached is a detailed list of the accounts my client cannot access despite your client’s contention that he has
fully restored access in accordance with Judge Stanton’s specific order. Also attached is an explanation why,
along with a detailed accounting of what is missing from the CSV Bank of America account.

In addition, BAP issued CSV a check for Gitman's travels that were paid for by CSV. This check was deposited
and returned for insufficient funds. I was informed by the CEO of BAP that Gitman asked that such check be
canceled and reissued directly to him. That amount is $3,651.84 and should be immediately redeposited by your
client into the CSV account.

As is clear from the attached, your client continues to refuse to return all issues back to the Plaintiffs’ May 26,
2017 condition as per the Court’s order. This will be addressed with the Court at tomorrow’s hearing and the
appropriate relief will be sought.

I further overheard your client indicate on the record before Judge Stanton yesterday, when he contended that
the tradename ChannelReply was not owned by Plaintiffs, that he obtained a trademark on the name
ChannelReply. If that is the case, and he, without authorization of the Plaintiffs, trademarked the name
ChannelReply for his or another’s benefit, it will be the basis for another cause of action and another restraint
and application to the Court. Please confirm immediately if this action was taken, and, if so, provide copies of
the trademark application, the registration for same, all documents relating thereto, so that we may determine
how to handle that situation as well. If I misheard your client, then please confirm the nonexistence of such
application for a trademark of the name ChannelReply or any other confusingly similar name.

Thank you.

Barry Guaglardi




Barry S. Guaglardi, Esq.
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Email – Do not have direct access to Michael@channelreply.com he has simply forwarded my            Field Code Changed
emails to an alternative email address, this does not give me the ability to access or control my
own email as I did prior. All Gsuite accounts must be moved back to the parent account of
NDAP-LLC.
        Gsuite has not been moved back to NDAP-LLC it is still a new account created by David
not as it was May 26, 2017

Hello Michael Dardashtian,

You have a new account at channelreply.com
Account details:

Username
michael@channelreply.com

Password


Start using your new account by signing in
at https://www.google.com/accounts/AccountChooser?Email=michael@channelreply.com&continue=http
s://apps.google.com/user/hub




Slack – Not currently invited as Michael@channelreply.com, now invited as                           Field Code Changed
mikedash1@gmail.com - not as it was May 26, 2017                                                    Field Code Changed


Fixed
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Zendesk (ChannelReply) - Not currently invited as Michael@channelreply.com, now invited as     Field Code Changed
mdash@coopersquareventures.com - not as it was May 26, 2017                                    Field Code Changed


Fixed




Godaddy – All new accounts created with varying levels of Authorization, no direct access to
the username NDAP which is our companies account and login - not as it was May 26, 2017
(Still no ChannelReply.com anywhere in any of the accounts)
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Michael has the same access he did on May 26th. Here is proof that he has access to                Formatted: Superscript
channelreply.com




Stripe – Access Granted
All company information in Stripe is incorrect, still states ChannelReply, Inc instead of Cooper
Square Ventures, LLC with ChannelReply inc address. Not as it was May 26, 2017

Fixed
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Chargebee – Cannot access as was granted to Michael@channelreply.com but makes me login        Field Code Changed
through my google account login (gsuite account) and there is none associated as of now. Not
as it was May 26, 2017
Fixed




Github – Access Granted

PayPal – Cannot access paypal@coopersquareventures.com login as I did prior to May             Field Code Changed
prior to May 26, 2017
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Try
paypal@coopersquareventures.com / sMiEzGtUq&YbRWXD9eko. Two factor authentication
has been disabled.


Upwork Account – Access Granted
Okay

Amazon Seller Central – cannot access mdash@ndap-llc.com account                         Field Code Changed
        cannot access Michael@channelreply.com account                                   Field Code Changed
        cannot access mdash+eu@ndap-llc.com account                                      Field Code Changed
on May 26th these accounts were the access points for all ChannelReply MWS details and
information
mdash@ndap-llc.com - I don’t know the password for this mdash@ndap-llc.com and don’t     Formatted: Font: Bold
have the access to reset it. Michael can easily reset his password by going to           Formatted: Font: Bold
https://sellercentral.amazon.com and clicking on “Forgot your password”?

michael@channelreply.com I was able to login with the password                           Formatted: Font: Bold
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mdash+eu@ndap-llc.com I was able to login with the password         Formatted: Font: Bold
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AWS – cannot access NDAP or ChannelReply AWS accounts - no login provided or email
invitation provided.
NDAP
https://ndap.signin.aws.amazon.com/console
Username: mdash
Password reset to:
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ChannelReply
https://channelreply.signin.aws.amazon.com/console
Username: mdash
Password reset to:




Magento – cannot access Magento account (username mdash) no way to reset password
https://www.carpartkings.com//RoundTable/
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Username: mdash
Password reset to:
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       at bankofamerica.com/banksecure
                For Customer Service Call
                            844.401 8500
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 XXXXXXXX7134
 *7TH AVE & UNION ST
 BROOKLYN            NY
  Deposit to
  PRIMARY                                               Checking
  Ser. No. 5193
  Check Amount                                                $3,651.84
                                                           lai·: i
  i                                           iTPtMw*
                                              -·»,·
                          '»VM« ·Μί.>ΚΙίβϋ«




         Ntlíiři iiri

                        ■■■Huillín                          -j
  Part of the check image has been
  obscured for security reasons
  Total Deposit                                               $3,651.84
  Credit Pending, Posts On                                      06/20/17
  Available Now                                                 $0.00
  Available Balance                                        $80,819.85
  Member FDIC
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